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                            CASE NO. 24-10248


              IN THE UNITED STATES COURT OF APPEALS
                       FOR THE FIFTH CIRCUIT


  CHAMBER OF COMMERCE OF THE UNITED STATES OF AMERICA;
 FORT WORTH CHAMBER OF COMMERCE; LONGVIEW CHAMBER OF
   COMMERCE; AMERICAN BANKERS ASSOCIATION; CONSUMER
   BANKERS ASSOCIATION; TEXAS ASSOCIATION OF BUSINESS,
                                         Plaintiffs – Appellants

                                        v.

CONSUMER FINANCIAL PROTECTION BUREAU; ROHIT CHOPRA, in his
  official capacity as Director of the Consumer Financial Protection Bureau ,
                                                         Defendants – Appellees.

            On Appeal from the United States District Court for the
               Northern District of Texas, Fort Worth Division


 APPELLANTS’ NOTICE REGARDING THEIR EMERGENCY MOTION
 FOR INJUNCTION PENDING APPEAL AND ADMINISTRATIVE STAY


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        Plaintiffs, the Chamber of Commerce of the United States of America, Fort

Worth Chamber of Commerce, Longview Chamber of Commerce, American

Bankers Association, Consumer Bankers Association, and Texas Association of

Business, respectfully submit this notice regarding a recent order by the district

court. On March 26, 2024, the day after Plaintiffs filed a notice of appeal and sought

emergency relief in this Court, the district court entered an order setting a hearing

on Plaintiffs’ Motion for a Preliminary Injunction (“Motion”) on Tuesday, April 2,

2024.

        Plaintiffs appreciate that the district court has scheduled a hearing on

Plaintiffs’ Motion. Plaintiffs look forward to appearing for oral argument before the

district court to request an indicative ruling on that Motion. See Fed. R. Civ. P. 62.1.

        In the meantime, Plaintiffs respectfully request that this Court allow the

parties to continue with briefing on Plaintiffs’ emergency motion before this Court.

As described in Plaintiffs’ emergency motion in this Court, Plaintiffs appealed to

this Court from the effective denial of their Motion, and they continue to suffer

additional irreparable harm with each day that passes. See Clarke v. Commodity

Futures Trading Comm’n, 74 F.4th 627, 635 (5th Cir. 2023) (“a court of appeals

may review a district court’s order that, while not explicitly denying a preliminary

injunction, nonetheless has the practical effect of doing so and might cause

irreparable harm absent immediate appeal”). That irreparable harm arises because of


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Defendants’ constitutional and statutory violations, which are made more acute by

Defendants’ refusal to comply with the Truth in Lending Act’s requirements that

give issuers six months to implement changes to credit card disclosures; the CFPB

provided 60 days. App.012-107; see 15 U.S.C. § 1604(d).

      Although the district court has set a hearing, the court has not said whether or

when the court plans to provide an indicative ruling on their Motion, see App.308,

and the CFPB’s motion for discretionary transfer remains pending. Consequently,

Plaintiffs respectfully ask that this Court maintain the current briefing schedule on

their emergency motion and believe that an administrative stay pending this Court’s

consideration would still be appropriate.

Dated: March 26, 2024                            Respectfully submitted,


                                                 /s/ Michael Murray
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                         CERTIFICATE OF SERVICE

      Pursuant to Fed. R. App. P. 25(d) and 5th Cir. R. 25.2.5, I hereby certify that

on March 26, 2024, I filed foregoing motion via the Court’s CM/ECF system and

also caused the foregoing to be served by email on the following counsel for

Defendants-Appellees:


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                                                        /s/ Michael Murray
                                                        Michael Murray

                                                        Attorney for Appellant




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            CERTIFICATE OF COMPLIANCE WITH
   TYPFACE REQUIREMENTS AND TYPE-STYLE REQUIREMENTS

      This brief complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and 5th Cir. R. 32.1 and the type-style requirements of Fed. R. App. P.

32(a)(6) because it has been prepared in a proportionally spaced typeface using

Microsoft Word in 14-point Times New Roman font. Additionally, I certify that

any required redactions have been made in compliance with 5th Cir. R. 25.2.13. I

certify that the facts supporting emergency consideration of the motion are true and

complete.

Dated: March 26, 2024
                                                        /s/ Michael Murray
                                                        Michael Murray

                                                        Attorney for Appellant




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